        Case:18-16796-MER Doc#:63 Filed:03/28/19                   Entered:03/28/19 15:33:13 Page1 of 1
                                   UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF COLORADO
In re:                                          )
Mairen R Reagan                                 )         Case No. 18-16796-MER
SSN: xxx-xx-5289                                )         Chapter 7
                                                )
                           Debtor.              )

                                                 Certificate of Service

Part 1 Certificate of Service of Unopposed Motion, and Proposed Order

I (the undersigned) certify that on March 28, 2019, I served a complete copy of the UNITED STATES TRUSTEE’S
UNOPPOSED THIRD MOTION TO EXTEND DEADLINE TO FILE COMPLAINT OBJECTING TO DISCHARGE and
proposed ORDER on the following parties in compliance with the Federal Rules of Bankruptcy Procedure and the Court’s
Local Rules:

              Attorney David M. Serafin; via CM/ECF
              Attorney Jared Walters; via CM/ECF
              Attorney Ilene Dell’Acqua; via CM/ECF
              Attorney Robert Gregory Busch; via CM/ECF

              Mairen R Reagan
               PO Box 3408
               Telluride, CO 81435-9109
               (via U.S. first class mail)


Dated: March 28, 2019                               Respectfully submitted,

                                                    PATRICK S. LAYNG
                                                    UNITED STATES TRUSTEE

                                                    /s/ Paul V. Moss
                                                    By: Paul V. Moss, #26903
                                                    Trial Attorney for the U.S. Trustee
                                                    1961 Stout Street, Suite 12-200
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L.B.F. 9013-1.2 (12/17)                                                                                     Page 1
 
